                IN THE UNITED STATES DISTRICT COURT FOR THE
                        WESTERN DISTRICT OF MISSOURI
                              WESTERN DIVISION

UNITED STATES OF AMERICA,                 )
                                          )
                     Plaintiff,           )
                                          )
v.                                        )      Case No. 05-00344-01/02-CR-W-ODS
                                          )
GARY EYE and                              )
STEVEN SANDSTROM,                         )
                                          )
                     Defendants.          )

       ORDER OVERRULING DEFENDANTS’ OBJECTIONS, ADOPTING THE
     MAGISTRATE JUDGE’S REPORT AND RECOMMENDATION, AND DENYING
                   DEFENDANTS’ MOTION TO SUPPRESS

       On September 5, 2006, the Honorable Robert E. Larsen, United States
Magistrate Judge for the Western District of Missouri, issued a Report and
Recommendation (“the Report”) recommending the Court deny Defendants’ Motion to
Suppress. Defendants have filed timely objections, and the Court has reviewed the
Report and the parties’ submissions on the matter; having done so, the Court adopts
the Report as the Order of the Court and denies Defendants’ Motions to Dismiss.
       Nearly all of the facts are undisputed, and the Court adopts the Report’s findings
even though only a summary will be provided here. For a period of time, both
Defendants were detained at the Jackson County Detention Center (the “detention
center”) pending trial in this case. The detention center contains fifty-two housing units,
each containing at least two telephones in that unit’s common area. Inmates and
detainees may use these phones to contact family, friends, and attorneys. To combat
abuse, in 1996 the phones were modified to permit monitoring and recording of calls. A
laminated piece of paper on the phones contains operating instructions, which includes
the following admonition: “Calls are subject to monitoring and recording.” When the
phone is used, the instructions (including the quoted admonition) are repeated via




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recording before the call is placed, and again when the person receiving the call
answers the phone.1
      All calls (with certain exceptions not relevant here)2 are recorded. Calls are not
routinely monitored; they are usually monitored only by Sprint (to insure the system is
operating properly) and when detention center officials receive reports that an inmate is
making harassing phone calls.
      Some of the conversations reflect each Defendant’s awareness their calls were
being monitored. For instance, these are excerpts of conversations between Gary Eye
and Regennia Rios:

RR:   What you think you’re gonna do? Six months set back?

GE:   I don’t know. I hope not. I’m gonna try to [unintelligible] so I can run.

RR:   Hmm. You’re silly, why would you say that on the phone [uintelligible]?

GE:   Fuck the man.

                                       *     *    *

GE:   Guess whose picture they showed me? You know that old boy we picked up that
      one night? From [unintelligible]? WE all went all the way out to that store and in
      the restroom and shit?

RR:   Yeah.

GE:   Don’t say his name. But yeah.

During a conversation between Steven Sanstrom and Kristina Chirino, Sandstrom
warned her to “say nothing on this phone because they are listening to it.”3


      1
        Due to a malfunction, the oral instructions were not played before some of the
calls placed by Defendants. This fact does not affect the Court’s findings or legal
analysis.
      2
       For instance, calls to the Public Defender’s Office are not recorded or monitored.
      3
        Evidence of a conversation between the two Defendants was also offered, along
with the testimony of an FBI Special Agent opining (1) the Defendants were speaking in

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       Federal law prohibits the recording of telephone conversations unless a warrant
has been issued or other specified exception are present, and no conversation recorded
in violation of the statute may be used as evidence in court. One of the specified
exceptions allows law enforcement officials to record a conversation if “one of the
parties to the communication has given prior consent to such” recording. 18 U.S.C. §
2511(2)(c). While the statute applies to the monitoring of prisoner and detainee phone
calls, United States v. Horr, 963 F.2d 1124 (8th Cir.), cert. denied, 506 U.S. 848 (1992),
“[i]t is generally accepted that a prisoner who places a call from an institutional phone
with the knowledge that the call is subject to being recorded has impliedly consented to
the recording.” United States v. Faulkner, 439 F.3d 1221, 1224 (10th Cir. 2006) (citing
cases). This is because “[w]hen someone voluntarily participates in a telephone
conversation knowing that the call is being intercepted, this conduct supports a finding
of implied consent to the interception.” United States v. Corona-Chavez, 328 F.3d 974,
978 (8th Cir. 2003). In light of the written warnings, the oral warnings, and Defendants’
conduct, the Court finds both Defendants impliedly consented to the recording of their
telephone calls.
       Defendants’ primary argument is that they only knew their calls were subject to
monitoring and recording, not that they were actually monitored and recorded. For
support, they rely on Deal v. Spears, 980 F.2d 1153 (8th Cir. 1992). In Deal, an
employer told his employee that “he might be forced to monitor calls or restrict
telephone privileges if abuse of the store’s telephone for personal calls continued.” Id.
at 1156-57. In context, this declaration conveyed the message that (1) calls were not
being monitored and (2) if circumstances did not change the monitoring might be
instituted. In contrast to these representations, the employer immediately began
monitoring and recording conversations. In rejecting the employer’s claim that the
employee consented to the recordings, the Eighth Circuit held the record reflected “[t]he



code (2) because they knew they were being recorded. Defendants object to this fact.
Actually, the Report only finds this to be the Special Agent’s belief, and the Court
believes there is other sufficient evidence to support the ultimate conclusion reached
today.

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Spearses did not inform Deal that they were monitoring the phone, but only told her they
might do so in order to cut down on personal calls.” Id. at 1157.
      Defendant’s effort to equate the detention center’s warning that calls are “subject
to monitoring” with the statement “we might start monitoring” is not persuasive. “Subject
to” does not mean “might;” in context, the detention center’s warnings advised
detainees and inmates they should use the phones with the expectation that the call
would be recorded and monitored. This warning was sufficient to advise Defendants
their calls would be heard by third parties; Defendants’ consent did not require the
detention center to inform Defendants there was a certainty their calls would be
monitored and recorded.
      The evidence in the record persuades the Court that, as a matter of fact, (1)
Defendants were advised their telephone calls would be recorded and monitored, (2)
Defendants knew their telephone calls would be recorded and monitored, and (3)
Defendants’ consented to the recording and monitoring by using the telephones while
armed with this knowledge. The statute was not violated; Defendants’ objections are
overruled, the Report and Recommendation is accepted as the Order of the Court, and
the Motion to Suppress is denied.

IT IS SO ORDERED.



                                                /s/ Ortrie D. Smith
                                                ORTRIE D. SMITH, JUDGE
DATE: October 4, 2006                           UNITED STATES DISTRICT COURT




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